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                                         EXHIBIT A
                          Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                   ARTIST                   TITLE                    SR NUMBER
Arista Music                Alicia Keys              Caged Bird               SR0000299410
Arista Music                Alicia Keys              Feeling U, Feeling Me    SR0000346869
                                                     (Interlude)
Arista Music                Alicia Keys              Goodbye                  SR0000299410
Arista Music                Alicia Keys              No One                   SR0000627148
Arista Music                Avril Lavigne            Complicated              PA0001328757
Arista Music                Christina Aguilera       Genie In A Bottle        SR0000274004
Arista Music                Dave Matthews Band       Angel                    SR0000300313
Arista Music                Dave Matthews Band       Everyday                 SR0000300313
Arista Music                Dave Matthews Band       The Space Between        SR0000300313
Arista Music                Dave Matthews Band       When The World Ends      SR0000300313
Arista Music                Jamie Foxx               DJ Play A Love Song      SR0000374820
Arista Music                Jamie Foxx               Do What It Do            SR0000374820
Arista Music                Jamie Foxx               Three Letter Word        SR0000374820
Arista Music                Jamie Foxx               Warm Bed                 SR0000374820
Arista Music                Kings Of Leon            Camaro                   SR0000609656
Arista Music                Kings Of Leon            Charmer                  SR0000609656
Arista Music                Kings Of Leon            King Of The Rodeo        SR0000368962
Arista Music                Kings Of Leon            McFearless               SR0000609656
Arista Music                Kings Of Leon            Ragoo                    SR0000609656
Arista Music                Kings Of Leon            Wasted Time              SR0000330401
Arista Music                The Strokes              Reptilia                 SR0000342282
Arista Music                The Strokes              Under Control            SR0000342282
Arista Music                The Strokes              You Talk Way Too Much    SR0000342282
Arista Music                Tyrese                   Sweet Lady               SR0000237788
Arista Music                Tyrese                   Turn Ya Out              SR0000395451
Arista Music                Usher                    Burn                     SR0000357822
Arista Music                Usher                    Do It To Me              SR0000354784
Arista Records   LLC        Air Supply               Having You Near Me       SR0000038070
Arista Records   LLC        Air Supply               I Want to Give It All    SR0000027856
Arista Records   LLC        Air Supply               Just Another Woman       SR0000038070
Arista Records   LLC        Air Supply               Keeping the Love Alive   SR0000027866
Arista Records   LLC        Air Supply               My Best Friend           SR0000038070
Arista Records   LLC        Air Supply               Old Habits Die Hard      SR0000038070
Arista Records   LLC        Air Supply               Tonite                   SR0000027866
Arista Records   LLC        OutKast                  Aquemini                 SR0000264091 /
                                                                              SR0000264092
Arista Records   LLC        OutKast                  GhettoMusick             SR0000340520
Arista Records   LLC        OutKast                  Liberation               SR0000264092
Arista Records   LLC        OutKast                  Prototype                SR0000340520
Arista Records   LLC        OutKast                  Rosa Parks               SR0000264092
Arista Records   LLC        OutKast                  SpottieOttieDopaliscious SR0000264092
Arista Records   LLC        OutKast                  The Way You Move         SR0000340520
Arista Records   LLC        Santana                  Smooth                   SR0000289833
Arista Records   LLC        Sarah McLachlan          Adia                     SR0000243027
Arista Records   LLC        Sarah McLachlan          Fallen                   SR0000345432
Arista Records   LLC        Sarah McLachlan          Possession               SR0000200152
Arista Records   LLC        Sarah McLachlan          Sweet Surrender          SR0000243027
Arista Records   LLC        TLC                      Damaged                  SR0000321502
Arista Records   LLC        Whitney Houston          Heartbreak Hotel         SR0000298453
Arista Records   LLC        Whitney Houston          If I Told You That       SR0000298453


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                                                  EXHIBIT A
                                   Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                           ARTIST                    TITLE                    SR NUMBER
Arista Records LLC                  Whitney Houston           Saving All My Love For   SR0000060716
                                                              You
Arista Records LLC                  Whitney Houston           So Emotional             SR0000089966
Arista Records LLC                  Whitney Houston           Where Do Broken Hearts   SR0000089966
                                                              Go
Atlantic Recording   Corporation    Phil Collins              In The Air Tonight       SR0000024682
Atlantic Recording   Corporation    Skid Row                  Youth Gone Wild          SR0000103783
Atlantic Recording   Corporation    Shinedown                 45                       SR0000342566
Atlantic Recording   Corporation    Shinedown                 All I Ever Wanted        SR0000342566
Atlantic Recording   Corporation    Shinedown                 Better Version           SR0000342566
Atlantic Recording   Corporation    Shinedown                 Burning Bright           SR0000342566
Atlantic Recording   Corporation    Shinedown                 Fly From The Inside      SR0000342566
Atlantic Recording   Corporation    Shinedown                 In Memory                SR0000342566
Atlantic Recording   Corporation    Shinedown                 Left Out                 SR0000342566
Atlantic Recording   Corporation    Sean Paul                 Get Busy                 SR0000352634
Atlantic Recording   Corporation    Sean Paul                 Like Glue                SR0000352634
Atlantic Recording   Corporation    Twista                    Overnight Celebrity      SR0000360486
Atlantic Recording   Corporation    Kevin Lyttle              Turn Me On               SR0000368171
Atlantic Recording   Corporation    Shinedown                 Fake                     SR0000393740
Atlantic Recording   Corporation    Gnarls Barkley            Crazy                    SR0000398345
Atlantic Recording   Corporation    Musiq Soulchild           teachme                  SR0000405533
Atlantic Recording   Corporation    Plies                     100 Years                SR0000612286
Atlantic Recording   Corporation    Lupe Fiasco               The Coolest              SR0000639320
Atlantic Recording   Corporation    Shinedown                 Call Me                  SR0000673788
Atlantic Recording   Corporation    Shinedown                 Cyanide Sweet Tooth      SR0000673788
                                                              Suicide
Atlantic Recording   Corporation    Shinedown                 Devour                   SR0000673788
Atlantic Recording   Corporation    Shinedown                 If You Only Knew         SR0000673788
Atlantic Recording   Corporation    Shinedown                 Second Chance            SR0000673788
Atlantic Recording   Corporation    Shinedown                 Sin With A Grin          SR0000673788
Atlantic Recording   Corporation    Shinedown                 Sound Of Madness         SR0000673788
Atlantic Recording   Corporation    Shinedown                 What A Shame             SR0000673788
Atlantic Recording   Corporation    Tank                      Next Breath              SR0000703963   /
                                                                                       SR0000706575
Atlantic Recording Corporation      Wiz Khalifa               Roll Up                  SR0000703969   /
                                                                                       SR0000703961
Atlantic Recording Corporation      Lupe Fiasco               The Show Goes On         SR0000704469   /
                                                                                       SR0000704967
Atlantic Recording   Corporation    Wiz Khalifa               Fall Asleep              SR0000715951
Atlantic Recording   Corporation    Wiz Khalifa               Paperbond                SR0000715951
Atlantic Recording   Corporation    Wiz Khalifa               Work Hard, Play Hard     SR0000715951
Atlantic Recording   Corporation    Brett Eldredge            Mean To Me               SR0000751747
Atlantic Recording   Corporation    Flo Rida                  I Cry                    SR0000754532
Atlantic Recording   Corporation    Bruno Mars                Natalie                  SR0000756206   /
                                                                                       SR0000715738
Atlantic Recording Corporation      Bruno Mars                Show Me                  SR0000756206   /
                                                                                       SR0000715738
Atlantic Recording Corporation      Bruno Mars                Treasure                 SR0000756206   /
                                                                                       SR0000715738
Atlantic Recording Corporation      Bruno Mars                When I Was Your Man      SR0000756206   /
                                                                                       SR0000715738


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                                                EXHIBIT A
                                 Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                         ARTIST                     TITLE                   SR NUMBER
Atlantic Recording Corporation    Bruno Mars                 Young Girls             SR0000756206   /
                                                                                     SR0000715738
Atlantic Recording Corporation    Trey Songz                 All We Do               SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Trey Songz                 Cake                    SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Trey Songz                 Change Your Mind        SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Trey Songz                 Foreign                 SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Trey Songz                 Na Na                   SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Trey Songz                 SmartPhones             SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Trey Songz                 Yes, No, Maybe          SR0000766386   /
                                                                                     SR0000780907
Atlantic Recording Corporation    Wale                       The Girls On Drugs      SR0000769365   /
                                                                                     SR0000769363
Atlantic Recording Corporation    Wale                       The Glass Egg           SR0000769365   /
                                                                                     SR0000769363
Atlantic Recording Corporation    Wale                       The God Smile           SR0000769365   /
                                                                                     SR0000769363
Atlantic Recording Corporation    Wale                       The Helium Balloon      SR0000769365   /
                                                                                     SR0000769363
Atlantic Recording Corporation    Wale                       The Intro About Nothing SR0000769365   /
                                                                                     SR0000769363
Atlantic Recording Corporation    Wale                       The Middle Finger       SR0000769365   /
                                                                                     SR0000769363
Atlantic Recording Corporation    Kid Ink, Tyga, Wale, YG,   Ride Out                SR0000770930   /
                                  Rich Homie Quan                                    SR0000768651
Atlantic Recording Corporation    Meek Mill                  Check                   SR0000772873
Atlantic Recording Corporation    K. Michelle                All I Got               SR0000778688   /
                                                                                     SR0000778677
Atlantic Recording Corporation    Wiz Khalifa                No Gain                 SR0000780218   /
                                                                                     SR0000780234
Atlantic Recording Corporation    Wiz Khalifa                Promises                SR0000780218   /
                                                                                     SR0000780234
Atlantic Recording Corporation    Wiz Khalifa                The Sleaze              SR0000780218   /
                                                                                     SR0000780234
Atlantic Recording Corporation    Wiz Khalifa                We Dem Boyz             SR0000780218   /
                                                                                     SR0000780234
Atlantic Recording Corporation    Wiz Khalifa                Incense [Target Bonus   SR0000780234
                                                             Track]
Atlantic Recording Corporation    Santigold                  Banshee                 SR0000780293
Atlantic Recording Corporation    Trey Songz                 About You               SR0000781231   /
                                                                                     SR0000780790
Atlantic Recording Corporation    Ty Dolla $ign              Westside                SR0000794493
Atlantic Recording Corporation    Wale                       MY PYT                  SR0000795388
Atlantic Recording Corporation    Young Thug                 Halftime                SR0000800182
Bad Boy Records LLC               112                        Cupid                   SR0000233376
Bad Boy Records LLC               112                        Anywhere                SR0000312756


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                                           EXHIBIT A
                            Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                   TITLE                    SR NUMBER
Bad Boy Records LLC           Yung Joc                 Picture Perfect          SR0000393525
Capitol Records, LLC          BANKS                    Warm Water               SR0000759038
Capitol Records, LLC          Billy Idol               Eyes Without A Face      SR0000052131 /
                                                                                SR0000052736
Capitol Records, LLC          Billy Idol               Flesh For Fantasy        SR0000052131 /
                                                                                SR0000052736
Capitol   Records,   LLC      Billy Idol               Mony Mony                SR0000029769
Capitol   Records,   LLC      Heart                    Alone                    SR0000088275
Capitol   Records,   LLC      Heart                    Dreamboat Annie          SR0000102964
Capitol   Records,   LLC      Heart                    Magic Man                SR0000102964
Capitol   Records,   LLC      Heart                    What About Love          SR0000075726
Capitol   Records,   LLC      Ice Cube                 It Was A Good Day        SR0000169617
Capitol   Records,   LLC      Jennifer Lopez           I Luh Ya Papi            SR0000740643
Capitol   Records,   LLC      John Lee Hooker          Boom Boom                SR0000147755
Capitol   Records,   LLC      Katy Perry               By The Grace Of God      SR0000734382
Capitol   Records,   LLC      Katy Perry               Not Like The Movies      SR0000662268
                                                       (Explicit)
Capitol   Records,   LLC      Katy Perry               Pearl (Explicit)         SR0000662268
Capitol   Records,   LLC      Katy Perry               Waking Up In Vegas       SR0000638214
Capitol   Records,   LLC      Keith Urban              Better Life              SR0000353271
Capitol   Records,   LLC      Keith Urban              Making Memories Of Us    SR0000353271
Capitol   Records,   LLC      Keith Urban              Tonight I Wanna Cry      SR0000353271
Capitol   Records,   LLC      Lady Antebellum          Cold As Stone            SR0000686148
Capitol   Records,   LLC      Lady Antebellum          Ready To Love Again      SR0000644547
Capitol   Records,   LLC      Lenny Kravitz            American Woman           SR0000341322
Capitol   Records,   LLC      Lenny Kravitz            Stand By My Woman        SR0000128345
Capitol   Records,   LLC      Little Big Town          Girl Crush               SR0000762528
Capitol   Records,   LLC      Luke Bryan               Beer In The Headlights   SR0000728445
Capitol   Records,   LLC      Luke Bryan               Dirt Road Diary          SR0000722027
Capitol   Records,   LLC      Luke Bryan               Drink A Beer             SR0000728445
Capitol   Records,   LLC      Luke Bryan               I See You                SR0000728445
Capitol   Records,   LLC      Luke Bryan               Kiss Tomorrow Goodbye    SR0000681898
Capitol   Records,   LLC      Luke Bryan               Out Like That            SR0000728445
Capitol   Records,   LLC      Luke Bryan               Shut It Down             SR0000728445
Capitol   Records,   LLC      Luke Bryan               We Run This Town         SR0000728445
Capitol   Records,   LLC      Norah Jones              Painter Song             SR0000320120   /
                                                                                SR0000366945
Capitol Records, LLC          Norah Jones              Shoot The Moon           SR0000320120   /
                                                                                SR0000366945
Capitol Records, LLC          Norah Jones              The Long Day Is Over     SR0000320120   /
                                                                                SR0000366945
Capitol   Records,   LLC      Pat Benatar              Fire And Ice             SR0000028224
Capitol   Records,   LLC      Pat Benatar              Invincible               SR0000077543
Capitol   Records,   LLC      Pat Benatar              Promises In The Dark     SR0000028224
Capitol   Records,   LLC      Richard Marx             Hold On To The Nights    SR0000091050
Capitol   Records,   LLC      Richard Marx             Now And Forever          SR0000210246
Capitol   Records,   LLC      Sam Smith                Lay Me Down              SR0000750596
Capitol   Records,   LLC      Simple Minds             Alive And Kicking        SR0000069517
Capitol   Records,   LLC      Simple Minds             This Is Your Land        SR0000104636   /
                                                                                SR0000132719




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                                                  EXHIBIT A
                                   Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                           ARTIST                        TITLE                 SR NUMBER
Capitol Records, LLC                Snoop Dogg Featuring Master   Lay Low               SR0000317638
                                    P, Nate Dogg, Butch Cassidy
                                    And Tha Eastsidaz
Capitol Records, LLC                The Kooks                     Sofa Song              SR0000613055
Elektra Entertainment Group Inc.    Keith Sweat                   I Want Her             SR0000085227
Elektra Entertainment Group Inc.    Silk                          Freak Me               SR0000168058 /
                                                                                         SR0000178455
Elektra Entertainment Group Inc.    Keith Sweat                   Right And A Wrong Way SR0000171903 /
                                                                                         SR0000086761
Elektra Entertainment Group Inc.    George Jones                  Choices                SR0000178893
Elektra Entertainment Group Inc.    Third Eye Blind               Burning Man            SR0000188673
Elektra Entertainment Group Inc.    Third Eye Blind               Graduate               SR0000188673
Elektra Entertainment Group Inc.    Third Eye Blind               Thanks A Lot           SR0000188673
Elektra Entertainment Group Inc.    Third Eye Blind               An Ode To Maybe        SR0000278241
Fueled by Ramen LLC                 fun.                          Carry On               SR0000704930
Fueled by Ramen LLC                 fun.                          Some Nights            SR0000704930
LaFace Records LLC                  OutKast                       Babylon                SR0000233296
LaFace Records LLC                  OutKast                       Decatur Psalm          SR0000233296
LaFace Records LLC                  OutKast                       Greatest Show On Earth SR0000395944
LaFace Records LLC                  OutKast                       Hollywood Divorce      SR0000395944
LaFace Records LLC                  OutKast                       Jazzy Belle            SR0000233296
LaFace Records LLC                  OutKast                       Millennium             SR0000233296
LaFace Records LLC                  OutKast                       Morris Brown           SR0000395944
LaFace Records LLC                  OutKast                       Ms. Jackson            SR0000306741
LaFace Records LLC                  OutKast                       So Fresh So Clean      SR0000306741
LaFace Records LLC                  OutKast                       Spaghetti Junction     SR0000306741
LaFace Records LLC                  OutKast                       The Whole World        SR0000309898
LaFace Records LLC                  OutKast                       Toilet Tisha           SR0000306741
LaFace Records LLC                  OutKast                       Wheelz of Steel        SR0000233296
LaFace Records LLC                  P!nk                          Sober                  SR0000619959
LaFace Records LLC                  TLC                           Creep                  SR0000198743
LaFace Records LLC                  TLC                           Hat 2 da Back          SR0000143726
LaFace Records LLC                  TLC                           Kick Your Game         SR0000198743
LaFace Records LLC                  TLC                           No Scrubs              SR0000298454
LaFace Records LLC                  TLC                           Red Light Special      SR0000198743
LaFace Records LLC                  TLC                           Unpretty               SR0000298454
LaFace Records LLC                  TLC                           Waterfalls             SR0000198743
LaFace Records LLC                  Toni Braxton                  Breathe Again          SR0000208619
LaFace Records LLC                  Usher                         Trading Places         SR0000620940
LaFace Records LLC                  Usher                         U Got It Bad           SR0000307207
LaFace Records LLC                  Usher                         U Remind Me            SR0000307207
Maverick Recording Company          Alanis Morissette             Hand In My Pocket      SR0000213545
Maverick Recording Company          Alanis Morissette             Head Over Feet         SR0000213545
Maverick Recording Company          Alanis Morissette             Ironic                 SR0000213545
Maverick Recording Company          Alanis Morissette             Perfect                SR0000213545
Maverick Recording Company          Alanis Morissette             You Learn              SR0000213545
Maverick Recording Company          Alanis Morissette             You Oughta Know        SR0000213545
Maverick Recording Company          Alanis Morissette             That I Would Be Good   SR0000228847
Sony Music Entertainment            A$AP Rocky                    1Train                 SR0000724848
Sony Music Entertainment            A$AP Rocky                    Fashion Killa          SR0000724848
Sony Music Entertainment            A$AP Rocky                    Jukebox Joints         SR0000768264


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                                            EXHIBIT A
                             Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                    TITLE                      SR NUMBER
Sony Music Entertainment      Adele                     All I Ask                  SR0000773819
Sony Music Entertainment      Adele                     Hello                      SR0000774139
Sony Music Entertainment      Adele                     Love In The Dark           SR0000773819
Sony Music Entertainment      Adele                     One And Only               SR0000673074
Sony Music Entertainment      Adele                     Rolling In The Deep        SR0000673074
Sony Music Entertainment      Adele                     Set Fire to the Rain       SR0000673074
Sony Music Entertainment      Adele                     Someone Like You           SR0000673074
Sony Music Entertainment      Adele                     Take It All                SR0000673074
Sony Music Entertainment      Aerosmith                 Big Ten Inch Record        N26905 / N25838
Sony Music Entertainment      Aerosmith                 Closer                     SR0000714021
Sony Music Entertainment      Aerosmith                 Critical Mass              RE0000927389
Sony Music Entertainment      Aerosmith                 Dream On                   RE0000928145
Sony Music Entertainment      Aerosmith                 Falling In Love (Is Hard   SR0000246031
                                                        On The Knees)
Sony Music Entertainment      Aerosmith                 Girls of Summer            SR0000314304
Sony Music Entertainment      Aerosmith                 Kings And Queens           RE0000927389
                                                        (Audio)
Sony Music Entertainment      Aerosmith                 Make It                    RE0000928145
Sony Music Entertainment      Aerosmith                 Mama Kin                   RE0000928145
Sony Music Entertainment      Aerosmith                 Rats In The Cellar         N33961
                                                        (Audio)
Sony   Music Entertainment    Aerosmith                 Sweet Emotion              N26905 / N25838
Sony   Music Entertainment    Aerosmith                 Walk This Way              N26905 / N25838
Sony   Music Entertainment    Alice In Chains           Angry Chair                SR0000148348
Sony   Music Entertainment    Alice In Chains           I Stay Away                SR0000187667
Sony   Music Entertainment    Alicia Keys               Brand New Me               SR0000731107
Sony   Music Entertainment    Alicia Keys               Fire We Make               SR0000731107
Sony   Music Entertainment    Alicia Keys               Girl On Fire               SR0000714751
Sony   Music Entertainment    Audioslave                Like A Stone               SR0000322103
Sony   Music Entertainment    Babyface                  Every Time I Close My      SR0000231025
                                                        Eyes
Sony   Music Entertainment    Beyoncé                   ***Flawless (Explicit)     SR0000747291
Sony   Music Entertainment    Beyoncé                   All Night                  PA0002044523
Sony   Music Entertainment    Beyoncé                   Crazy in Love              SR0000342236
Sony   Music Entertainment    Beyoncé                   Ego                        SR0000623449
Sony   Music Entertainment    Beyoncé                   Flawless Remix (feat.      SR0000766251
                                                        Nicki Minaj)
Sony   Music Entertainment    Beyoncé                   Freedom                    PA0002044523
Sony   Music Entertainment    Beyoncé                   Hello                      SR0000623449
Sony   Music Entertainment    Beyoncé                   Hold Up                    PA0002044523
Sony   Music Entertainment    Beyoncé                   If I Were a Boy            SR0000718926
Sony   Music Entertainment    Beyoncé                   Jealous                    SR0000747291
Sony   Music Entertainment    Beyoncé                   Lay Up Under Me            SR0000683948
Sony   Music Entertainment    Beyoncé                   Mine                       SR0000747291
Sony   Music Entertainment    Beyoncé                   Naughty Girl               SR0000342236
Sony   Music Entertainment    Beyoncé                   Pray You Catch Me          PA0002044523
Sony   Music Entertainment    Beyoncé                   Pretty Hurts               SR0000747291
Sony   Music Entertainment    Beyoncé                   Radio                      SR0000623449
Sony   Music Entertainment    Beyoncé                   Rocket (Explicit)          SR0000747291
Sony   Music Entertainment    Beyoncé                   Sandcastles                PA0002044523
Sony   Music Entertainment    Beyoncé                   Sorry                      PA0002044523


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                                          EXHIBIT A
                           Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                   ARTIST                      TITLE                     SR NUMBER
Sony Music Entertainment    Beyoncé                     Video Phone               SR0000623449
Sony Music Entertainment    Beyoncé feat. Frank Ocean   Superpower                SR0000747291
Sony Music Entertainment    Bone Thugs N Harmony        Tha Crossroads            SR0000225335
Sony Music Entertainment    Brandy                      Long Distance             SR0000622255
Sony Music Entertainment    Brandy                      Scared Of Beautiful       SR0000710136
Sony Music Entertainment    Brandy                      So Sick                   SR0000710136
Sony Music Entertainment    Britney Spears              Perfume                   SR0000738038
Sony Music Entertainment    Bryson Tiller               Don't                     SR0000773804
Sony Music Entertainment    Bryson Tiller               Exchange                  SR0000773803
Sony Music Entertainment    Bullet For My Valentine     Fever                     SR0000706395
Sony Music Entertainment    Bullet For My Valentine     Scream Aim Fire           PA0001607594
Sony Music Entertainment    Calvin Harris               Awooga                    SR0000710755
Sony Music Entertainment    Calvin Harris               Blame                     SR0000763014
Sony Music Entertainment    Calvin Harris               Dollar Signs              SR0000763016
Sony Music Entertainment    Calvin Harris               Pray to God               SR0000763016
Sony Music Entertainment    Calvin Harris               Summer                    SR0000763015
Sony Music Entertainment    Calvin Harris               Sweet Nothing             SR0000710757
Sony Music Entertainment    Carrie Underwood            Little Toy Guns           SR0000766315
Sony Music Entertainment    Carrie Underwood            See You Again             SR0000700157
Sony Music Entertainment    Chris Brown                 Add Me In                 SR0000760908
Sony Music Entertainment    Chris Brown                 Autumn Leaves             SR0000760908
Sony Music Entertainment    Chris Brown                 Fine By Me                SR0000776590
Sony Music Entertainment    Chris Brown                 Love More                 SR0000760908
Sony Music Entertainment    Chris Brown                 New Flame                 SR0000760917
Sony Music Entertainment    Chris Brown                 Turn Up The Music         SR0000711816
Sony Music Entertainment    Chris Brown                 Wrist                     SR0000776584
Sony Music Entertainment    Chris Brown                 Zero                      SR0000776582
Sony Music Entertainment    Ciara                       Body Party                SR0000724526
Sony Music Entertainment    Ciara                       I Bet                     SR0000767267
Sony Music Entertainment    Cyndi Lauper                I Drove All Night         SR0000105504
Sony Music Entertainment    Daft Punk                   Beyond                    SR0000725802
Sony Music Entertainment    Daft Punk                   Contact                   SR0000725802
Sony Music Entertainment    Daft Punk                   Fragments of Time         SR0000725802
Sony Music Entertainment    Daft Punk                   Get Lucky                 SR0000725802
Sony Music Entertainment    Daft Punk                   Giorgio by Moroder        SR0000725802
Sony Music Entertainment    Daft Punk                   Give Life Back to Music   SR0000725802
Sony Music Entertainment    Daft Punk                   Instant Crush             SR0000725802
Sony Music Entertainment    Daft Punk                   Lose Yourself to Dance    SR0000725802
Sony Music Entertainment    Daft Punk                   Motherboard               SR0000725802
Sony Music Entertainment    Daft Punk                   The Game of Love          SR0000725802
Sony Music Entertainment    Daft Punk                   Touch                     SR0000725802
Sony Music Entertainment    Daft Punk                   Within                    SR0000725802
Sony Music Entertainment    Dixie Chicks                Easy Silence              SR0000391109
Sony Music Entertainment    Dixie Chicks                Not Ready To Make Nice    SR0000697321
Sony Music Entertainment    Dixie Chicks                The Long Way Around       SR0000391109
Sony Music Entertainment    Dixie Chicks                Wide Open Spaces          SR0000252000
Sony Music Entertainment    DJ Khaled                   Do You Mind               SR0000798398
Sony Music Entertainment    DJ Khaled                   How Many Times            SR0000780314
Sony Music Entertainment    DJ Khaled                   I Got the Keys            SR0000798395
Sony Music Entertainment    Earl Sweatshirt             Grief                     SR0000768772
Sony Music Entertainment    Earl Sweatshirt             Mantra                    SR0000768774


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                                            EXHIBIT A
                             Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                     TITLE                   SR NUMBER
Sony Music Entertainment      Earl Sweatshirt            Sunday                  SR0000736220
Sony Music Entertainment      Electric Light Orchestra   Confusion               SR0000012943
Sony Music Entertainment      Electric Light Orchestra   Evil Woman              N27257
Sony Music Entertainment      Electric Light Orchestra   Last Train to London    SR0000012943
Sony Music Entertainment      Electric Light Orchestra   Mr Blue Sky             N46612
Sony Music Entertainment      Electric Light Orchestra   Showdown                N11365
Sony Music Entertainment      Electric Light Orchestra   Strange Magic           N27257
Sony Music Entertainment      Electric Light Orchestra   Telephone Line          N36991
Sony Music Entertainment      Electric Light Orchestra   Turn To Stone           N46612
Sony Music Entertainment      Europe                     Carrie                  SR0000076395
Sony Music Entertainment      Fantasia                   No Time For It          SR0000792795
Sony Music Entertainment      Fifth Harmony              Sledgehammer            SR0000768357
Sony Music Entertainment      Fifth Harmony              Work From Home          SR0000783585
Sony Music Entertainment      Foo Fighters               A Matter Of Time        SR0000677691
Sony Music Entertainment      Foo Fighters               Best Of You             SR0000734391
Sony Music Entertainment      Foo Fighters               Cold Day In The Sun     SR0000377762
Sony Music Entertainment      Foo Fighters               Congregation            SR0000779002
Sony Music Entertainment      Foo Fighters               Dear Rosemary           SR0000677691
Sony Music Entertainment      Foo Fighters               Everlong                SR0000297253
Sony Music Entertainment      Foo Fighters               I Should Have Known     SR0000677691
Sony Music Entertainment      Foo Fighters               In The Clear            SR0000779002
Sony Music Entertainment      Foo Fighters               Monkey Wrench           SR0000297253
Sony Music Entertainment      Foo Fighters               My Hero                 SR0000297253
Sony Music Entertainment      Foo Fighters               My Poor Brain           SR0000297253
Sony Music Entertainment      Foo Fighters               Resolve                 SR0000377762
Sony Music Entertainment      Foo Fighters               Rope                    SR0000677691
Sony Music Entertainment      Foo Fighters               See You                 SR0000297253
Sony Music Entertainment      Foo Fighters               The Feast and The       SR0000779001
                                                         Famine
Sony   Music Entertainment    Foo Fighters               The Pretender           SR0000748786
Sony   Music Entertainment    Foo Fighters               Virginia Moon           SR0000377762
Sony   Music Entertainment    Foo Fighters               Wheels                  SR0000636262
Sony   Music Entertainment    Foo Fighters               Wind Up                 SR0000297253
Sony   Music Entertainment    French Montana             No Shopping             SR0000793598
Sony   Music Entertainment    Future                     I Won                   SR0000762569
Sony   Music Entertainment    Future                     Lil Haiti Baby          SR0000799347
Sony   Music Entertainment    Future                     Where Ya At             SR0000769842
Sony   Music Entertainment    George Jones               He Stopped Loving Her   SR0000018496
                                                         Today
Sony Music Entertainment      Ginuwine                   Differences             SR0000296962
Sony Music Entertainment      Ginuwine                   In Those Jeans          SR0000331436
Sony Music Entertainment      Ginuwine                   None Of Ur Friends      SR0000270733
                                                         Business
Sony   Music Entertainment    Ginuwine                   Pony                    SR0000790937
Sony   Music Entertainment    Good Charlotte             The Anthem              SR0000309099
Sony   Music Entertainment    Hozier                     From Eden               SR0000751287
Sony   Music Entertainment    Hozier                     In A Week               SR0000763602
Sony   Music Entertainment    Hozier                     In The Woods            SR0000766300
                                                         Somewhere
Sony Music Entertainment      Hozier                     Jackie And Wilson       SR0000763602
Sony Music Entertainment      Hozier                     Like Real People Do     SR0000763599


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                                            EXHIBIT A
                             Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                    TITLE                     SR NUMBER
Sony Music Entertainment      Hozier                    Someone New               SR0000763600
Sony Music Entertainment      Hozier                    Take Me To Church         SR0000763599
Sony Music Entertainment      Hozier                    Work Song                 SR0000751287
Sony Music Entertainment      Jagged Edge               I Gotta Be                SR0000249897
Sony Music Entertainment      Jake Owen                 The One That Got Away     SR0000697851
Sony Music Entertainment      Jamie Foxx                Baby's In Love            SR0000768296
Sony Music Entertainment      Jamie Foxx                Pretty Thing              SR0000768929
Sony Music Entertainment      Jamie Foxx                You Changed Me            SR0000768294
Sony Music Entertainment      John Legend               All Of Me                 SR0000732356
Sony Music Entertainment      John Legend               Caught Up                 SR0000732352
Sony Music Entertainment      John Legend               Dreams                    SR0000732352
Sony Music Entertainment      John Legend               Everybody Knows           SR0000619653
Sony Music Entertainment      John Legend               For The First Time        SR0000732352
Sony Music Entertainment      John Legend               Hold On Longer            SR0000732352
Sony Music Entertainment      John Legend               Save The Night            SR0000732352
Sony Music Entertainment      John Legend               Slow Dance                SR0000395235
Sony Music Entertainment      John Legend               Tomorrow                  SR0000732352
Sony Music Entertainment      John Legend               Wanna Be Loved            SR0000732352
Sony Music Entertainment      John Mayer                Half Of My Heart          SR0000650569
Sony Music Entertainment      John Mayer                Wildfire                  SR0000729089
Sony Music Entertainment      Johnny Cash               Sunday Morning Coming     RE0000923063
                                                        Down
Sony   Music Entertainment    Johnny Cash               The General Lee           SR0000035327
Sony   Music Entertainment    Journey                   Wheel In The Sky          SR0000000388
Sony   Music Entertainment    Judas Priest              Down in Flames            SR0000757800
Sony   Music Entertainment    Judas Priest              Hard as Iron              SR0000099987
Sony   Music Entertainment    Judas Priest              Living After Midnight     SR0000020171
Sony   Music Entertainment    Judas Priest              Screaming for Vengeance   SR0000037202
Sony   Music Entertainment    Juicy J                   All I Blow Is Loud        SR0000729084
Sony   Music Entertainment    Juicy J                   Bandz A Make Her Dance    SR0000729086

Sony   Music Entertainment    Juicy J                   Bounce It                 SR0000729083
Sony   Music Entertainment    Juicy J                   Gun Plus A Mask           SR0000729084
Sony   Music Entertainment    Juicy J                   Money A Do It             SR0000729084
Sony   Music Entertainment    Juicy J                   No Heart No Love          SR0000729084
Sony   Music Entertainment    Juicy J                   One of Those Nights       SR0000729087
Sony   Music Entertainment    Juicy J                   Scholarship               SR0000729084
Sony   Music Entertainment    Juicy J                   Show Out                  SR0000729085
Sony   Music Entertainment    Juicy J                   So Much Money             SR0000729084
Sony   Music Entertainment    Juicy J                   The Woods                 SR0000729084
Sony   Music Entertainment    Juicy J                   Wax                       SR0000729084
Sony   Music Entertainment    Justin Timberlake         Amnesia                   SR0000743696
Sony   Music Entertainment    Justin Timberlake         Cabaret                   SR0000743696
Sony   Music Entertainment    Justin Timberlake         Not A Bad Thing           SR0000743696
Sony   Music Entertainment    Kansas                    Dust in The Wind          RE0000927442
Sony   Music Entertainment    Kelly Clarkson            Let Your Tears Fall       SR0000765820
Sony   Music Entertainment    Kid Ink                   Be Real                   SR0000766243
Sony   Music Entertainment    Kid Ink                   Body Language             SR0000766204
Sony   Music Entertainment    Kid Ink                   Cool Back                 SR0000766205
Sony   Music Entertainment    Kid Ink                   Dolo                      SR0000766243
Sony   Music Entertainment    Kid Ink                   Every City We Go          SR0000766243


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                                            EXHIBIT A
                             Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                    TITLE                      SR NUMBER
Sony Music Entertainment      Kid Ink                   Faster                     SR0000766243
Sony Music Entertainment      Kid Ink                   Like a Hott Boyy           SR0000766207
Sony Music Entertainment      Kid Ink                   More Than a King           SR0000742556
Sony Music Entertainment      Kid Ink                   Show Must Go On            SR0000766243
Sony Music Entertainment      Kid Ink                   What It Feels Like         SR0000766243
Sony Music Entertainment      Kings Of Leon             Comeback Story             SR0000734388
Sony Music Entertainment      Kings Of Leon             Crawl                      SR0000723763
Sony Music Entertainment      Kings Of Leon             Family Tree                SR0000734388
Sony Music Entertainment      Kings Of Leon             Notion                     SR0000617761
Sony Music Entertainment      Kings Of Leon             Rock City                  SR0000734388
Sony Music Entertainment      Kings Of Leon             Sex On Fire                SR0000617761
Sony Music Entertainment      Kings Of Leon             Supersoaker                SR0000726617
Sony Music Entertainment      Kings Of Leon             Temple                     SR0000734388
Sony Music Entertainment      Kings Of Leon             Wait for Me                SR0000734389
Sony Music Entertainment      Lauryn Hill               Nothing Even Matters       SR0000254183
Sony Music Entertainment      Leon Bridges              Coming Home                SR0000769504
Sony Music Entertainment      Luther Vandross           Never Too Much             SR0000030497
Sony Music Entertainment      Lyfe Jennings             Must Be Nice               SR0000383821
Sony Music Entertainment      Macy Gray                 Do Something               SR0000267460
Sony Music Entertainment      MAGIC!                    How Do You Want to Be      SR0000763849
                                                        Remembered
Sony   Music Entertainment    MAGIC!                    Rude                       SR0000763612
Sony   Music Entertainment    MAGIC!                    Stupid Me                  SR0000763849
Sony   Music Entertainment    Maren Morris              My Church                  SR0000774701
Sony   Music Entertainment    Mariah Carey              All I Want For Christmas   SR0000207178
                                                        Is You
Sony   Music Entertainment    Mariah Carey              Always Be My Baby          SR0000215243
Sony   Music Entertainment    Mario                     Crying Out For Me          SR0000734912
Sony   Music Entertainment    Mark Ronson               Uptown Funk                SR0000765954
Sony   Music Entertainment    Marlon Roudette           When the Beat Drops Out    SR0000772981
Sony   Music Entertainment    Marvin Gaye               Sexual Healing             SR0000038850
Sony   Music Entertainment    Maxwell                   1990x                      SR0000788520
Sony   Music Entertainment    Meghan Trainor            All About That Bass        SR0000758102
Sony   Music Entertainment    MGMT                      Flash Delirium             SR0000655661
Sony   Music Entertainment    MGMT                      Kids                       SR0000670166
Sony   Music Entertainment    MGMT                      The Youth                  SR0000670166
Sony   Music Entertainment    MGMT                      Time To Pretend            SR0000697485
Sony   Music Entertainment    Michael Jackson           Another Part of Me         SR0000084256
Sony   Music Entertainment    Michael Jackson           Bad                        SR0000084256
Sony   Music Entertainment    Michael Jackson           Beat It                    SR0000041965
Sony   Music Entertainment    Michael Jackson           Billie Jean                SR0000041965
Sony   Music Entertainment    Michael Jackson           Black or White             SR0000178165
Sony   Music Entertainment    Michael Jackson           Break Of Dawn              SR0000304780
Sony   Music Entertainment    Michael Jackson           Butterflies                SR0000304780
Sony   Music Entertainment    Michael Jackson           Dirty Diana                SR0000084256
Sony   Music Entertainment    Michael Jackson           Don't Stop 'Til You Get    SR0000011105
                                                        Enough
Sony   Music Entertainment    Michael   Jackson         Earth Song                 SR0000212660
Sony   Music Entertainment    Michael   Jackson         Give In To Me              SR0000178165
Sony   Music Entertainment    Michael   Jackson         Human Nature               SR0000041965
Sony   Music Entertainment    Michael   Jackson         In the Closet              SR0000178165


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                                            EXHIBIT A
                             Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                    TITLE                     SR NUMBER
Sony Music Entertainment      Michael Jackson           Keep the Faith            SR0000178165
Sony Music Entertainment      Michael Jackson           Leave Me Alone            SR0000084256
Sony Music Entertainment      Michael Jackson           Love Never Felt so Good   SR0000744677
Sony Music Entertainment      Michael Jackson           Man In The Mirror         SR0000084256
Sony Music Entertainment      Michael Jackson           Privacy                   SR0000304780
Sony Music Entertainment      Michael Jackson           Remember The Time         SR0000178165
Sony Music Entertainment      Michael Jackson           Smooth Criminal           SR0000084256
Sony Music Entertainment      Michael Jackson           Speechless                SR0000304780
Sony Music Entertainment      Michael Jackson           Speed Demon               SR0000084256
Sony Music Entertainment      Michael Jackson           Stranger In Moscow        SR0000212660
Sony Music Entertainment      Michael Jackson           The Lost Children         SR0000304780
Sony Music Entertainment      Michael Jackson           The Way You Make Me       SR0000084256
                                                        Feel
Sony   Music Entertainment    Michael Jackson           Will You Be There         SR0000178165
Sony   Music Entertainment    Miguel                    face the sun              SR0000769254
Sony   Music Entertainment    Miguel                    leaves                    SR0000769253
Sony   Music Entertainment    Miguel                    NWA                       SR0000769255
Sony   Music Entertainment    Miranda Lambert           Fastest Girl In Town      PA0001805349
Sony   Music Entertainment    Mobb Deep                 It's Mine                 SR0000278725
Sony   Music Entertainment    Modest Mouse              Missed The Boat           SR0000407040
Sony   Music Entertainment    Nas                       I Can                     SR0000332713
Sony   Music Entertainment    Nas                       Just a Moment             SR0000349133
Sony   Music Entertainment    Nas                       N.Y. State of Mind        SR0000207177
Sony   Music Entertainment    One Direction             Best Song Ever            SR0000737314
Sony   Music Entertainment    One Direction             Diana                     SR0000740363
Sony   Music Entertainment    One Direction             Fireproof                 SR0000766248
Sony   Music Entertainment    One Direction             Heart Attack              SR0000714020
Sony   Music Entertainment    One Direction             Kiss You                  SR0000714020
Sony   Music Entertainment    One Direction             Last First Kiss           SR0000714020
Sony   Music Entertainment    One Direction             Little Black Dress        SR0000740363
Sony   Music Entertainment    One Direction             Little White Lies         SR0000740363
Sony   Music Entertainment    One Direction             Night Changes             SR0000766250
Sony   Music Entertainment    One Direction             No Control                SR0000766248
Sony   Music Entertainment    One Direction             Perfect                   SR0000773464
Sony   Music Entertainment    One Direction             Ready to Run              SR0000766240
Sony   Music Entertainment    One Direction             Spaces                    SR0000766248
Sony   Music Entertainment    One Direction             Strong                    SR0000740363
Sony   Music Entertainment    Ozzy Osbourne             Crazy Babies              SR0000098705
Sony   Music Entertainment    Ozzy Osbourne             Dreamer                   SR0000303331
Sony   Music Entertainment    Ozzy Osbourne             I Just Want You           SR0000171292
Sony   Music Entertainment    Ozzy Osbourne             Miracle Man               SR0000098705
Sony   Music Entertainment    Ozzy Osbourne             Perry Mason               SR0000171292
Sony   Music Entertainment    P!nk                      The Truth About Love      SR0000709056
Sony   Music Entertainment    Passion Pit               Little Secrets            PA0001678112
Sony   Music Entertainment    Passion Pit               Mirrored Sea              SR0000710923
Sony   Music Entertainment    Passion Pit               On My Way                 SR0000710923
Sony   Music Entertainment    Passion Pit               To Kingdom Come           PA0001683346
Sony   Music Entertainment    Passion Pit               Where We Belong           SR0000710923
Sony   Music Entertainment    Pitbull                   Feel This Moment          SR0000714643
Sony   Music Entertainment    Pitbull                   Fun                       SR0000763598
Sony   Music Entertainment    Pitbull                   Give Me Everything        SR0000681904


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                                            EXHIBIT A
                             Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                     ARTIST                    TITLE                     SR NUMBER
Sony Music Entertainment      Pitbull                   Pause                     SR0000681904
Sony Music Entertainment      Ray LaMontagne            Airwaves                  SR0000771256
Sony Music Entertainment      Ray LaMontagne            No Other Way              SR0000771255
Sony Music Entertainment      Ray LaMontagne            Supernova                 SR0000771255
Sony Music Entertainment      Sade                      Cherish the Day           SR0000183731
Sony Music Entertainment      Sade                      Hang On To Your Love      SR0000069105
Sony Music Entertainment      Sade                      Smooth Operator           SR0000069105
Sony Music Entertainment      Sean Kingston             Beautiful Girls           SR0000730825
Sony Music Entertainment      Shakira                   Empire                    SR0000756299
Sony Music Entertainment      Shakira                   She Wolf                  SR0000644417
Sony Music Entertainment      Sia                       Big Girls Cry             SR0000756330
Sony Music Entertainment      Sia                       Chandelier                SR0000756331
Sony Music Entertainment      Sia                       Cloud                     SR0000655573
Sony Music Entertainment      Sia                       Elastic Heart             SR0000743410
Sony Music Entertainment      Sia                       Fire Meet Gasoline        SR0000756330
Sony Music Entertainment      Sia                       Hostage                   SR0000756330
Sony Music Entertainment      System Of A Down          Attack                    SR0000388170
Sony Music Entertainment      System Of A Down          Holy Mountains            SR0000388170
Sony Music Entertainment      System Of A Down          Hypnotize                 SR0000748788
Sony Music Entertainment      System Of A Down          Lonely Day                SR0000388170
Sony Music Entertainment      System Of A Down          Stealing Society          SR0000388170
Sony Music Entertainment      System Of A Down          Vicinity Of Obscenity     SR0000388170
Sony Music Entertainment      The Clash                 I Fought The Law          SR0000013444
Sony Music Entertainment      The Internet              Special Affair            SR0000769229
Sony Music Entertainment      The Neighbourhood         Sweater Weather           SR0000728982
Sony Music Entertainment      The Strokes               Call It Fate, Call It     SR0000721205
                                                        Karma
Sony   Music Entertainment    The Strokes               Call Me Back              SR0000678099
Sony   Music Entertainment    The Strokes               Chances                   SR0000721205
Sony   Music Entertainment    The Strokes               Games                     SR0000678099
Sony   Music Entertainment    The Strokes               Happy Ending              SR0000721205
Sony   Music Entertainment    The Strokes               Heart In A Cage           SR0000742193
Sony   Music Entertainment    The Strokes               Juicebox                  SR0000742192
Sony   Music Entertainment    The Strokes               Machu Picchu              SR0000678099
Sony   Music Entertainment    The Strokes               Metabolism                SR0000678099
Sony   Music Entertainment    The Strokes               One Way Trigger           SR0000721205
Sony   Music Entertainment    The Strokes               Partners In Crime         SR0000721205
Sony   Music Entertainment    The Strokes               Slow Animals              SR0000721205
Sony   Music Entertainment    The Strokes               Tap Out                   SR0000721205
Sony   Music Entertainment    The Strokes               Two Kinds Of Happiness    SR0000678099
Sony   Music Entertainment    The Strokes               Under Cover Of Darkness   SR0000678099
Sony   Music Entertainment    Three 6 Mafia             Bin Laden                 SR0000334532
Sony   Music Entertainment    Three 6 Mafia             Ghetto Chick              SR0000334531 /
                                                                                  SR0000334532
Sony Music Entertainment      Three 6 Mafia             Stay Fly                  SR0000405321
Sony Music Entertainment      Three 6 Mafia             Wolf Wolf                 SR0000334531 /
                                                                                  SR0000334532
Sony   Music Entertainment    Three Days Grace          Animal I Have Become      SR0000719115
Sony   Music Entertainment    Three Days Grace          The Good Life             SR0000641798
Sony   Music Entertainment    Three Days Grace          World So Cold             SR0000641798
Sony   Music Entertainment    TLC                       Meant to Be               SR0000766027


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                                             EXHIBIT A
                              Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                      ARTIST                    TITLE                    SR NUMBER
Sony Music Entertainment       Travis Scott              90210                    SR0000775404
Sony Music Entertainment       Travis Scott              Antidote                 SR0000770031
Sony Music Entertainment       Travis Scott              Piss On Your Grave       SR0000775404
Sony Music Entertainment       Usher                     Crash                    SR0000797476
Sony Music Entertainment       Warrant                   Cherry Pie               SR0000122785
Sony Music Entertainment       Warrant                   Heaven                   SR0000103108
Sony Music Entertainment       Warrant                   Sometimes She Cries      SR0000103108
Sony Music Entertainment       Will Smith                Just The Two Of Us       SR0000249123
Sony Music Entertainment       Zayn                      Pillowtalk               SR0000779265
The All Blacks U.S.A., Inc.    Slipknot                  Dead Memories            SR0000656810   /
                                                                                  SR0000690259
The All Blacks U.S.A., Inc.    Slipknot                  Psychosocial             SR0000656810   /
                                                                                  SR0000690259
The All Blacks U.S.A., Inc.    Slipknot                  Snuff                    SR0000656810   /
                                                                                  SR0000690259
The All Blacks U.S.A., Inc.    Slipknot                  Sulfur                   SR0000656810   /
                                                                                  SR0000690259
UMG Recordings, Inc.           2 Chainz                  Not Invited              SR0000779295
UMG Recordings, Inc.           2 Chainz                  Watch Out                SR0000770658
UMG Recordings, Inc.           2Pac                      I Wonder If Heaven Got   SR0000276481
                                                         A Ghetto
UMG Recordings,   Inc.         2Pac                      Keep Ya Head Up          SR0000152641
UMG Recordings,   Inc.         50 Cent                   Back Down                SR0000323562
UMG Recordings,   Inc.         50 Cent                   Death To My Enemies      SR0000633257
UMG Recordings,   Inc.         50 Cent                   GATman And Robbin        SR0000366051
UMG Recordings,   Inc.         50 Cent                   Get In My Car            SR0000366051
UMG Recordings,   Inc.         50 Cent                   Lifes On The Line        SR0000337801
UMG Recordings,   Inc.         50 Cent                   Outta Control            SR0000366051
UMG Recordings,   Inc.         50 Cent                   Patiently Waiting        SR0000337801
UMG Recordings,   Inc.         50 Cent                   Ryder Music              SR0000366051
UMG Recordings,   Inc.         50 Cent                   So Amazing               SR0000366051
UMG Recordings,   Inc.         Aerosmith                 Angel                    SR0000085369
UMG Recordings,   Inc.         Aerosmith                 Love In An Elevator      SRu000161912
UMG Recordings,   Inc.         Aerosmith                 Rag Doll                 SR0000085369
UMG Recordings,   Inc.         Aerosmith                 The Other Side           SRu000161912
UMG Recordings,   Inc.         Aerosmith                 What It Takes            SRu000161912
UMG Recordings,   Inc.         Akon                      Gangsta Bop              SR0000610156
UMG Recordings,   Inc.         Akon                      Locked Up                SR0000345008
UMG Recordings,   Inc.         Akon                      Smack That               SR0000411449
UMG Recordings,   Inc.         Alessia Cara              Here                     SR0000764950
UMG Recordings,   Inc.         American Authors          Best Day Of My Life      SR0000720641
UMG Recordings,   Inc.         Amy Winehouse             Addicted                 SR0000407451
UMG Recordings,   Inc.         Amy Winehouse             Back To Black            SR0000407451
UMG Recordings,   Inc.         Amy Winehouse             Between The Cheats       SR0000695755
UMG Recordings,   Inc.         Amy Winehouse             Fuck Me Pumps            SR0000614121
UMG Recordings,   Inc.         Amy Winehouse             Half Time                SR0000695755
UMG Recordings,   Inc.         Amy Winehouse             He Can Only Hold Her     SR0000407451
UMG Recordings,   Inc.         Amy Winehouse             Just Friends             SR0000407451
UMG Recordings,   Inc.         Amy Winehouse             Know You Now             SR0000614121
UMG Recordings,   Inc.         Amy Winehouse             Like Smoke               SR0000695755
UMG Recordings,   Inc.         Amy Winehouse             Love Is A Losing Game    SR0000407451


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                    SR NUMBER
UMG Recordings,   Inc.    Amy Winehouse             Rehab                    SR0000407451
UMG Recordings,   Inc.    Amy Winehouse             Some Unholy War          SR0000407451
UMG Recordings,   Inc.    Amy Winehouse             Tears Dry On Their Own   SR0000407451
UMG Recordings,   Inc.    Amy Winehouse             Wake Up Alone            SR0000407451
UMG Recordings,   Inc.    Amy Winehouse             What Is It About Men     SR0000614121
UMG Recordings,   Inc.    Amy Winehouse             You Know I'm No Good     SR0000407451
UMG Recordings,   Inc.    Ariana Grande             Baby I                   SR0000729456
UMG Recordings,   Inc.    Ariana Grande             Be Alright               SR0000781014
UMG Recordings,   Inc.    Ariana Grande             Hands On Me              SR0000757296
UMG Recordings,   Inc.    Ariana Grande             Intro                    SR0000757296
UMG Recordings,   Inc.    Ariana Grande             Let Me Love You          SR0000781015
UMG Recordings,   Inc.    Ariana Grande             My Everything            SR0000757296
UMG Recordings,   Inc.    Ariana Grande             Only 1                   SR0000757296
UMG Recordings,   Inc.    Ariana Grande             Piano                    SR0000729458
UMG Recordings,   Inc.    Ariana Grande             Problem                  SR0000743514
UMG Recordings,   Inc.    Ariana Grande             Right There              SR0000729457
UMG Recordings,   Inc.    Ariana Grande             Snow In California       SR0000736099
UMG Recordings,   Inc.    Ariana Grande             The Way                  SR0000722427
UMG Recordings,   Inc.    Asia                      Heat Of The Moment       SR0000033700
UMG Recordings,   Inc.    Avicii                    Addicted To You          SR0000732601
UMG Recordings,   Inc.    Avicii                    Wake Me Up               SR0000732602
UMG Recordings,   Inc.    Azealia Banks             212                      SR0000732922
UMG Recordings,   Inc.    Bad Meets Evil            Lighters                 SR0000678636
UMG Recordings,   Inc.    Bas                       Methylone                SR0000778777
UMG Recordings,   Inc.    Big Boi                   Shutterbugg              SR0000664928
UMG Recordings,   Inc.    Big Boi                   Tangerine                SR0000663150
UMG Recordings,   Inc.    Big Sean                  Blessings                SR0000766140
UMG Recordings,   Inc.    Big Sean                  My Last                  SR0000675635
UMG Recordings,   Inc.    Big Sean                  Outro                    SR0000766152
UMG Recordings,   Inc.    Big Sean                  Paradise                 SR0000752369
UMG Recordings,   Inc.    Big Sean                  Play No Games            SR0000766152
UMG Recordings,   Inc.    Big Sean                  Stay Down                SR0000766152
UMG Recordings,   Inc.    Blue October              Congratulations          SR0000388117
UMG Recordings,   Inc.    Blue October              Drilled A Wire Through   SR0000388117
                                                    My Cheek
UMG Recordings,   Inc.    Blue October              Everlasting Friend       SR0000388117
UMG Recordings,   Inc.    Blue October              Hate Me                  SR0000388117
UMG Recordings,   Inc.    Blue October              Into The Ocean           SR0000388117
UMG Recordings,   Inc.    Blue October              Let It Go                SR0000388117
UMG Recordings,   Inc.    Blue October              What If We Could         SR0000388117
UMG Recordings,   Inc.    Blue October              You Make Me Smile        SR0000615154
UMG Recordings,   Inc.    Boyz II Men               Little Things            SR0000212333
UMG Recordings,   Inc.    Boyz II Men               Lonely Heart             SR0000212333
UMG Recordings,   Inc.    Boyz II Men               On Bended Knee           SR0000196004
UMG Recordings,   Inc.    Boyz II Men               Uhh Ahh                  SR0000212333
UMG Recordings,   Inc.    Boyz II Men               Water Runs Dry           SR0000196004
UMG Recordings,   Inc.    Canaan Smith              Love You Like That       SR0000746713
UMG Recordings,   Inc.    Carly Rae Jepsen          Call Me Maybe            SR0000696123
UMG Recordings,   Inc.    Common                    I Want You               SR0000614853
UMG Recordings,   Inc.    Common                    Real People              SR0000377106
UMG Recordings,   Inc.    Common                    They Say                 SR0000377106


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                   SR NUMBER
UMG Recordings,   Inc.    Crystal Castles           Vietnam                 SR0000656101
UMG Recordings,   Inc.    Def Leppard               Animal                  SR0000090420
UMG Recordings,   Inc.    Def Leppard               Photograph              SR0000042982
UMG Recordings,   Inc.    Diana Ross                Upside Down             SR0000017850
UMG Recordings,   Inc.    Die Antwoord              Enter The Ninja         SR0000656638
UMG Recordings,   Inc.    DMX                       We Right Here           SR0000301539
UMG Recordings,   Inc.    DMX                       Who We Be               SR0000303068
UMG Recordings,   Inc.    Dr. Dre                   Talk About It           SR0000773187
UMG Recordings,   Inc.    Dr. Dre                   Xxplosive               SR0000277983
UMG Recordings,   Inc.    Duffy                     Distant Dreamer         SR0000613340
UMG Recordings,   Inc.    Duffy                     Rockferry               SR0000613340
UMG Recordings,   Inc.    Duffy                     Serious                 SR0000613340
UMG Recordings,   Inc.    Duffy                     Stepping Stone          SR0000613340
UMG Recordings,   Inc.    Ellie Goulding            Aftertaste              SR0000776106
UMG Recordings,   Inc.    Ellie Goulding            Anything Could Happen   SR0000709961
UMG Recordings,   Inc.    Ellie Goulding            Burn                    SR0000729393
UMG Recordings,   Inc.    Ellie Goulding            Figure 8                SR0000709960
UMG Recordings,   Inc.    Ellie Goulding            Something In The Way    SR0000776103
                                                    You Move
UMG Recordings,   Inc.    Eminem                    Ass Like That           SR0000364769
UMG Recordings,   Inc.    Eminem                    Big Weenie              SR0000364769
UMG Recordings,   Inc.    Eminem                    Bitch Please II         SR0000287944
UMG Recordings,   Inc.    Eminem                    Business                SR0000317924
UMG Recordings,   Inc.    Eminem                    Drips                   SR0000317924
UMG Recordings,   Inc.    Eminem                    Evil Deeds              SR0000364769
UMG Recordings,   Inc.    Eminem                    Guilty Conscience       SR0000262686
UMG Recordings,   Inc.    Eminem                    Just Lose It            SR0000362082
UMG Recordings,   Inc.    Eminem                    Like Toy Soldiers       SR0000364769
UMG Recordings,   Inc.    Eminem                    Mosh                    SR0000364769
UMG Recordings,   Inc.    Eminem                    Not Afraid              SR0000653571
UMG Recordings,   Inc.    Eminem                    Puke                    SR0000364769
UMG Recordings,   Inc.    Eminem                    Rain Man                SR0000364769
UMG Recordings,   Inc.    Eminem                    Rap God                 SR0000735451
UMG Recordings,   Inc.    Eminem                    Say Goodbye Hollywood   SR0000317924
UMG Recordings,   Inc.    Eminem                    Sing For The Moment     SR0000317924
UMG Recordings,   Inc.    Eminem                    Stan                    SR0000287944
UMG Recordings,   Inc.    Eminem                    Stay Wide Awake         SR0000642488
UMG Recordings,   Inc.    Eminem                    The Real Slim Shady     SR0000293541
UMG Recordings,   Inc.    Eminem                    The Way I Am            SR0000287944
UMG Recordings,   Inc.    Eminem                    Without Me              SR0000317924
UMG Recordings,   Inc.    Enrique Iglesias          Let Me Be Your Lover    SR0000742694
UMG Recordings,   Inc.    Eric Clapton              Double Trouble          N00000040224 /
                                                                            RE0000908776
UMG Recordings,   Inc.    Fabolous                  Ball Drop               SR0000755656
UMG Recordings,   Inc.    Fabolous                  Bish Bounce             SR0000756976
UMG Recordings,   Inc.    Fall Out Boy              27                      SR0000620008
UMG Recordings,   Inc.    Fall Out Boy              Alone Together          SR0000720423
UMG Recordings,   Inc.    Fall Out Boy              Death Valley            SR0000720423
UMG Recordings,   Inc.    Fall Out Boy              Headfirst Slide Into    SR0000620008
                                                    Cooperstown On A Bad
                                                    Bet


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                     SR NUMBER
UMG Recordings,   Inc.    Fall Out Boy              Jet Pack Blues            SR0000766550
UMG Recordings,   Inc.    Fall Out Boy              Tiffany Blews             SR0000620008
UMG Recordings,   Inc.    Fall Out Boy              West Coast Smoker         SR0000620008
UMG Recordings,   Inc.    Fall Out Boy              Where Did The Party Go    SR0000720423
UMG Recordings,   Inc.    Fall Out Boy              Young Volcanoes           SR0000720423
UMG Recordings,   Inc.    Far East Movement         Rocketeer                 SR0000664587
UMG Recordings,   Inc.    Fergie                    Clumsy                    SR0000393675
UMG Recordings,   Inc.    Fergie                    Finally                   SR0000393675
UMG Recordings,   Inc.    Fergie                    London Bridge             SR0000399946
UMG Recordings,   Inc.    Fergie                    Voodoo Doll               SR0000393675
UMG Recordings,   Inc.    Frank Ocean               Bad Religion              SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Crack Rock                SR0000704928
UMG Recordings,   Inc.    Frank Ocean               End                       SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Forrest Gump              SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Lost                      SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Monks                     SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Pilot Jones               SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Pink Matter               SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Pyramids                  SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Sierra Leone              SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Start                     SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Super Rich Kids           SR0000704928
UMG Recordings,   Inc.    Frank Ocean               Sweet Life                SR0000704928
UMG Recordings,   Inc.    Frank Ocean               White                     SR0000704928
UMG Recordings,   Inc.    George Strait             I Just Want To Dance      SR0000252101
                                                    With You
UMG Recordings,   Inc.    George Strait             Living And Living Well    SR0000309691
UMG Recordings,   Inc.    George Strait             The Best Day              SR0000278800
UMG Recordings,   Inc.    Gorgon City               Go All Night              SR0000766143
UMG Recordings,   Inc.    Gwen Stefani              Now That You Got It       SR0000400614
UMG Recordings,   Inc.    Gwen Stefani              Used To Love You          SR0000776520
UMG Recordings,   Inc.    Iggy Azalea               Fancy                     SR0000748651
UMG Recordings,   Inc.    Jadakiss                  We Gonna Make It          SR0000301467
UMG Recordings,   Inc.    Jagged Edge               Put A Little Umph In It   SR0000615296
UMG Recordings,   Inc.    Jessie Ware               Running                   SR0000698466
UMG Recordings,   Inc.    Justin Bieber             As Long As You Love       SR0000710074
                                                    Me
UMG Recordings,   Inc.    Justin Bieber             Bad Day                   SR0000732686
UMG Recordings,   Inc.    Justin Bieber             Company                   SR0000775670
UMG Recordings,   Inc.    Justin Bieber             Love Yourself             SR0000775671
UMG Recordings,   Inc.    Justin Bieber             Mistletoe                 SR0000704701
UMG Recordings,   Inc.    Justin Bieber             No Sense                  SR0000775670
UMG Recordings,   Inc.    Justin Bieber             Overboard                 SR0000647657
UMG Recordings,   Inc.    Justin Bieber             Purpose                   SR0000775670
UMG Recordings,   Inc.    Justin Bieber             Right Here                SR0000710074
UMG Recordings,   Inc.    Justin Bieber             That Should Be Me         SR0000647657
UMG Recordings,   Inc.    Justin Bieber             Thought Of You            SR0000710074
UMG Recordings,   Inc.    Justin Bieber             Trust                     SR0000775670
UMG Recordings,   Inc.    Justin Bieber             What Do You Mean?         SR0000773004
UMG Recordings,   Inc.    K Camp                    Comfortable               SR0000767416
UMG Recordings,   Inc.    Kanye West                All Falls Down            SR0000347391


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                      SR NUMBER
UMG Recordings,   Inc.    Kanye West                All Of The Lights          SR0000683430
UMG Recordings,   Inc.    Kanye West                Amazing                    SR0000620203
UMG Recordings,   Inc.    Kanye West                Bad News                   SR0000620203
UMG Recordings,   Inc.    Kanye West                Black Skinhead             SR0000724178
UMG Recordings,   Inc.    Kanye West                Blood On The Leaves        SR0000724178
UMG Recordings,   Inc.    Kanye West                Clique                     SR0000763373
UMG Recordings,   Inc.    Kanye West                Coldest Winter             SR0000620203
UMG Recordings,   Inc.    Kanye West                Dark Fantasy               SR0000683430
UMG Recordings,   Inc.    Kanye West                Devil In A New Dress       SR0000683430
UMG Recordings,   Inc.    Kanye West                Famous                     SR0000779225
UMG Recordings,   Inc.    Kanye West                Father Stretch My Hands    SR0000779225
                                                    Pt. 1
UMG Recordings,   Inc.    Kanye West                FML                        SR0000779225
UMG Recordings,   Inc.    Kanye West                Good Life                  SR0000615020
UMG Recordings,   Inc.    Kanye West                Gorgeous                   SR0000683430
UMG Recordings,   Inc.    Kanye West                Guilt Trip                 SR0000724178
UMG Recordings,   Inc.    Kanye West                Hell Of A Life             SR0000683430
UMG Recordings,   Inc.    Kanye West                Highlights                 SR0000779225
UMG Recordings,   Inc.    Kanye West                Hold My Liquor             SR0000724178
UMG Recordings,   Inc.    Kanye West                I Am A God                 SR0000724178
UMG Recordings,   Inc.    Kanye West                I Wonder                   SR0000615020
UMG Recordings,   Inc.    Kanye West                I'm In It                  SR0000724178
UMG Recordings,   Inc.    Kanye West                Jesus Walks                SR0000347391
UMG Recordings,   Inc.    Kanye West                New Slaves                 SR0000724178
UMG Recordings,   Inc.    Kanye West                On Sight                   SR0000724178
UMG Recordings,   Inc.    Kanye West                POWER                      SR0000683430
UMG Recordings,   Inc.    Kanye West                Pt. 2                      SR0000779225
UMG Recordings,   Inc.    Kanye West                Real Friends               SR0000779225
UMG Recordings,   Inc.    Kanye West                RoboCop                    SR0000620203
UMG Recordings,   Inc.    Kanye West                Say You Will               SR0000620203
UMG Recordings,   Inc.    Kanye West                School Spirit              SR0000347391
UMG Recordings,   Inc.    Kanye West                Send It Up                 SR0000724178
UMG Recordings,   Inc.    Kanye West                Street Lights              SR0000620203
UMG Recordings,   Inc.    Kanye West                The New Workout Plan       SR0000347391
UMG Recordings,   Inc.    Kanye West                The One (Explicit)         SR0000763373
UMG Recordings,   Inc.    Kanye West                Ultralight Beam            SR0000779225
UMG Recordings,   Inc.    Kanye West                Waves                      SR0000779225
UMG Recordings,   Inc.    Kanye West                Who Will Survive In        SR0000683430
                                                    America
UMG Recordings,   Inc.    Kanye West                Wolves                     SR0000779225
UMG Recordings,   Inc.    Kendrick Lamar            Alright                    SR0000767371
UMG Recordings,   Inc.    Kendrick Lamar            Black Boy Fly              SR0000710032
UMG Recordings,   Inc.    Kendrick Lamar            good kid                   SR0000710032
UMG Recordings,   Inc.    Kendrick Lamar            King Kunta                 SR0000767371
UMG Recordings,   Inc.    Kendrick Lamar            m.A.A.d city               SR0000710032
UMG Recordings,   Inc.    Kendrick Lamar            Momma                      SR0000767371
UMG Recordings,   Inc.    Kendrick Lamar            Money Trees                SR0000710032
UMG Recordings,   Inc.    Kendrick Lamar            The Art of Peer Pressure   SR0000710032
UMG Recordings,   Inc.    Kendrick Lamar            The Blacker The Berry      SR0000759769
UMG Recordings,   Inc.    Keyshia Cole              Heaven Sent                SR0000615233
UMG Recordings,   Inc.    Kid Cudi                  Erase Me                   SR0000695773


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                    SR NUMBER
UMG Recordings,   Inc.    Kid Cudi                  Immortal                 SR0000720054
UMG Recordings,   Inc.    Kid Cudi                  REVOFEV                  SR0000696989
UMG Recordings,   Inc.    Kid Cudi                  SATELLITE FLIGHT         SR0000742775
UMG Recordings,   Inc.    Kid Cudi                  Sky Might Fall           SR0000637865
UMG Recordings,   Inc.    Kid Cudi                  Soundtrack 2 My Life     SR0000637865
UMG Recordings,   Inc.    Kid Cudi                  The Mood                 SR0000696989
UMG Recordings,   Inc.    Kiss                      King Of The Night Time   N00000030780 /
                                                    World                    RE0000908419
UMG Recordings,   Inc.    Lady Gaga                 Bad Romance              SR0000642919
UMG Recordings,   Inc.    Lana Del Rey              Black Beauty             SR0000750726
UMG Recordings,   Inc.    Lana Del Rey              Blue Jeans               SR0000412524
UMG Recordings,   Inc.    Lana Del Rey              Born To Die              SR0000692991
UMG Recordings,   Inc.    Lana Del Rey              Brooklyn Baby            SR0000750724
UMG Recordings,   Inc.    Lana Del Rey              Carmen                   SR0000692991
UMG Recordings,   Inc.    Lana Del Rey              Cruel World              SR0000750726
UMG Recordings,   Inc.    Lana Del Rey              Dark Paradise            SR0000692991 /
                                                                             SR0000412523
UMG Recordings,   Inc.    Lana Del   Rey            Diet Mountain Dew        SR0000692991
UMG Recordings,   Inc.    Lana Del   Rey            Florida Kilos            SR0000750726
UMG Recordings,   Inc.    Lana Del   Rey            Million Dollar Man       SR0000692991
UMG Recordings,   Inc.    Lana Del   Rey            Money Power Glory        SR0000750726
UMG Recordings,   Inc.    Lana Del   Rey            National Anthem          SR0000692991
UMG Recordings,   Inc.    Lana Del   Rey            Off To The Races         SR0000412524
UMG Recordings,   Inc.    Lana Del   Rey            Pretty When You Cry      SR0000750726
UMG Recordings,   Inc.    Lana Del   Rey            Ride                     SR0000712346 /
                                                                             SR0000412527
UMG Recordings, Inc.      Lana Del Rey              Sad Girl                 SR0000750726
UMG Recordings, Inc.      Lana Del Rey              The Other Woman          SR0000750726
UMG Recordings, Inc.      Lana Del Rey              This Is What Makes Us    SR0000692991
                                                    Girls
UMG Recordings,   Inc.    Lana Del Rey              Ultraviolence            SR0000750722
UMG Recordings,   Inc.    Lana Del Rey              Video Games              SR0000693409
UMG Recordings,   Inc.    Lana Del Rey              West Coast               SR0000750720
UMG Recordings,   Inc.    Lifehouse                 Anchor                   SR0000321812
UMG Recordings,   Inc.    Lifehouse                 Everything               SR0000289389
UMG Recordings,   Inc.    Lil Durk                  My Beyoncé               SR0000778799
UMG Recordings,   Inc.    Little Big Town           Pontoon                  SR0000709014
UMG Recordings,   Inc.    Lloyd                     Certified                SR0000391940
UMG Recordings,   Inc.    Logic                     Wrist                    SR0000779190
UMG Recordings,   Inc.    Lorde                     400 Lux                  SR0000732619
UMG Recordings,   Inc.    Lorde                     Glory And Gore           SR0000732619
UMG Recordings,   Inc.    Lorde                     Still Sane               SR0000732619
UMG Recordings,   Inc.    Lorde                     Team                     SR0000732619
UMG Recordings,   Inc.    Lorde                     Tennis Court             SR0000726964
UMG Recordings,   Inc.    Ludacris                  Blow It Out              SR0000347129
UMG Recordings,   Inc.    Ludacris                  Burning Bridges          SR0000755632
UMG Recordings,   Inc.    Ludacris                  Call Ya Bluff            SR0000768223
UMG Recordings,   Inc.    Ludacris                  Charge It To The Rap     SR0000768226
                                                    Game
UMG Recordings, Inc.      Ludacris                  In My Life               SR0000755632
UMG Recordings, Inc.      Ludacris                  Ludaversal Intro         SR0000768222


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                     SR NUMBER
UMG Recordings,   Inc.    Ludacris                  Not Long                  SR0000768222
UMG Recordings,   Inc.    Ludacris                  Ocean Skies               SR0000768222
UMG Recordings,   Inc.    Ludacris                  Problems                  SR0000755632
UMG Recordings,   Inc.    Ludacris                  Splash Waterfalls         SR0000347129
UMG Recordings,   Inc.    Mariah Carey              We Belong Together        SR0000370795 /
                                                                              SR000412532
UMG Recordings, Inc.      Maroon 5                  Coming Back For You       SR0000763864
UMG Recordings, Inc.      Maroon 5                  It Was Always You         SR0000763861
UMG Recordings, Inc.      Marvin Gaye               Come Get To This          N08961 /
                                                                              RE0000860289
UMG Recordings,   Inc.    Marvin Gaye               Got To Give It Up         SR0000048508
UMG Recordings,   Inc.    Marvin Gaye               I Want You                SR0000338547
UMG Recordings,   Inc.    Marvin Gaye               Praise                    SR0000024441
UMG Recordings,   Inc.    Mary J. Blige             Just Fine                 SR0000622425
UMG Recordings,   Inc.    Mary J. Blige             Real Love                 SR0000149212
UMG Recordings,   Inc.    Nas                       Breathe                   SR0000614072
UMG Recordings,   Inc.    Nelly                     Air Force Ones            SR0000315537
UMG Recordings,   Inc.    Nelly                     Ride Wit Me               SR0000281782
UMG Recordings,   Inc.    Nelly Furtado             Maneater                  SR0000387509
UMG Recordings,   Inc.    Nelly Furtado             Promiscuous               SR0000391617
UMG Recordings,   Inc.    Nick Jonas                Area Code                 SR0000778511
UMG Recordings,   Inc.    Nick Jonas                Bacon                     SR0000787434
UMG Recordings,   Inc.    Nick Jonas                Chains                    SR0000747346
UMG Recordings,   Inc.    Nirvana                   About A Girl              SR0000320325
UMG Recordings,   Inc.    Nirvana                   All Apologies             SR0000178690
UMG Recordings,   Inc.    Nirvana                   Been A Son                SR0000320325
UMG Recordings,   Inc.    Nirvana                   Breed                     SR0000135335
UMG Recordings,   Inc.    Nirvana                   Come As You Are           SR0000178690
UMG Recordings,   Inc.    Nirvana                   Drain You                 SR0000135335
UMG Recordings,   Inc.    Nirvana                   Dumb                      SR0000172276
UMG Recordings,   Inc.    Nirvana                   Heart Shaped Box          SR0000172276
UMG Recordings,   Inc.    Nirvana                   In Bloom                  SR0000135335
UMG Recordings,   Inc.    Nirvana                   Lake Of Fire              SR0000178690
UMG Recordings,   Inc.    Nirvana                   Lithium                   SR0000135335
UMG Recordings,   Inc.    Nirvana                   Lounge Act                SR0000135335
UMG Recordings,   Inc.    Nirvana                   Milk It                   SR0000172276
UMG Recordings,   Inc.    Nirvana                   On A Plain                SR0000135335
UMG Recordings,   Inc.    Nirvana                   Pennyroyal Tea            SR0000172276
UMG Recordings,   Inc.    Nirvana                   Plateau                   SR0000178690
UMG Recordings,   Inc.    Nirvana                   Polly                     SR0000135335
UMG Recordings,   Inc.    Nirvana                   Radio Friendly Unit       SR0000172276
                                                    Shifter
UMG Recordings,   Inc.    Nirvana                   Rape Me                   SR0000172276
UMG Recordings,   Inc.    Nirvana                   Scentless Apprentice      SR0000172276
UMG Recordings,   Inc.    Nirvana                   Smells Like Teen Spirit   SR0000134601
UMG Recordings,   Inc.    Nirvana                   Something In The Way      SR0000135335
UMG Recordings,   Inc.    Nirvana                   Stay Away                 SR0000135335
UMG Recordings,   Inc.    Nirvana                   Territorial Pissings      SR0000135335
UMG Recordings,   Inc.    Nirvana                   The Man Who Sold The      SR0000178690
                                                    World
UMG Recordings, Inc.      No Doubt                  Hey Baby                  SR0000305872


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                   SR NUMBER
UMG Recordings,   Inc.    Obie Trice                Shit Hits The Fan       SR0000341637
UMG Recordings,   Inc.    OneRepublic               Come Home               SR0000632435
UMG Recordings,   Inc.    OneRepublic               Stop And Stare          SR0000614111
UMG Recordings,   Inc.    Papa Roach                Had Enough              SR0000632009
UMG Recordings,   Inc.    Papa Roach                Hollywood Whore         SR0000620780
UMG Recordings,   Inc.    Papa Roach                Last Resort             SR0000279777
UMG Recordings,   Inc.    Papa Roach                Lifeline                SR0000627411
UMG Recordings,   Inc.    Public Enemy              911 Is A Joke           SR0000766282
UMG Recordings,   Inc.    Public Enemy              Fight The Power         SR0000118396
UMG Recordings,   Inc.    Public Enemy              Pollywanacraka          SR0000118396
UMG Recordings,   Inc.    Public Enemy              Prophets Of Rage        SR0000099400
UMG Recordings,   Inc.    Rae Sremmurd              Look Alive              SR0000779191
UMG Recordings,   Inc.    Rakim                     Stay A While            SR0000250129
UMG Recordings,   Inc.    Rick Ross                 Blessing In Disguise    SR0000750285
UMG Recordings,   Inc.    Rick Ross                 Burn                    SR0000763098
UMG Recordings,   Inc.    Rick Ross                 Coke Like The 80's      SR0000763098
UMG Recordings,   Inc.    Rick Ross                 Hood Billionaire        SR0000763098
UMG Recordings,   Inc.    Rick Ross                 Neighborhood Drug       SR0000763098
                                                    Dealer
UMG Recordings,   Inc.    Rick Ross                 Presidential            SR0000706411
UMG Recordings,   Inc.    Rick Ross                 Rich Forever            SR0000706411
UMG Recordings,   Inc.    Rick Ross                 Rich Is Gangsta         SR0000750285
UMG Recordings,   Inc.    Rick Ross                 Sixteen                 SR0000706411
UMG Recordings,   Inc.    Rihanna                   Diamonds                SR0000708917
UMG Recordings,   Inc.    Rihanna                   Do Ya Thang             SR0000689431
UMG Recordings,   Inc.    Rihanna                   Drunk On Love           SR0000689431
UMG Recordings,   Inc.    Rihanna                   Fading                  SR0000684805
UMG Recordings,   Inc.    Rihanna                   Fire Bomb               SR0000644571
UMG Recordings,   Inc.    Rihanna                   Hard                    SR0000644571
UMG Recordings,   Inc.    Rihanna                   Here I Go Again         SR0000372611
UMG Recordings,   Inc.    Rihanna                   Music Of The Sun        SR0000372611
UMG Recordings,   Inc.    Rihanna                   No Love Allowed         SR0000712658
UMG Recordings,   Inc.    Rihanna                   Photographs             SR0000644571
UMG Recordings,   Inc.    Rihanna                   Phresh Out The Runway   SR0000712658
UMG Recordings,   Inc.    Rihanna                   Pour It Up              SR0000712658
UMG Recordings,   Inc.    Rihanna                   Push Up On Me           SR0000411459
UMG Recordings,   Inc.    Rihanna                   Question Existing       SR0000411459
UMG Recordings,   Inc.    Rihanna                   Rude Boy                SR0000644571
UMG Recordings,   Inc.    Rihanna                   Say It                  SR0000411459
UMG Recordings,   Inc.    Rihanna                   Take A Bow              SR0000616718
UMG Recordings,   Inc.    Rihanna                   We All Want Love        SR0000689431
UMG Recordings,   Inc.    Rihanna                   We Found Love           SR0000685290
UMG Recordings,   Inc.    Rihanna                   Where Have You Been     SR0000689431
UMG Recordings,   Inc.    Rihanna                   You Da One              SR0000689433
UMG Recordings,   Inc.    Rise Against              Help Is On The Way      SR0000671825
UMG Recordings,   Inc.    Rise Against              Satellite               SR0000671827
UMG Recordings,   Inc.    Rise Against              Survivor Guilt          SR0000671827
UMG Recordings,   Inc.    Rixton                    Wait On Me              SR0000746711
UMG Recordings,   Inc.    Rob Zombie                American Witch          SR0000388142
UMG Recordings,   Inc.    Rob Zombie                Dead Girl Superstar     SR0000303801
UMG Recordings,   Inc.    Rob Zombie                Demon Speeding          SR0000304086


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                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                    SR NUMBER
UMG Recordings,   Inc.    Rob Zombie                Demonoid Phenomenon      SR0000257901
UMG Recordings,   Inc.    Rob Zombie                Dragula                  SR0000257901
UMG Recordings,   Inc.    Rob Zombie                Feel So Numb             SR0000303801
UMG Recordings,   Inc.    Rob Zombie                Living Dead Girl         SR0000257901
UMG Recordings,   Inc.    Rob Zombie                Return Of The Phantom    SR0000257901
                                                    Stranger
UMG Recordings, Inc.      Rob Zombie                The Girl Who Loved The   SR0000720050
                                                    Monsters
UMG Recordings, Inc.      Rob Zombie                Trade In Your Guns For   SR0000720050
                                                    A Coffin
UMG Recordings, Inc.      Robin Thicke              Feel Good                SR0000728226   /
                                                                             SR0000412690
UMG Recordings, Inc.      Robin Thicke              Give It 2 U              SR0000728227   /
                                                                             SR0000412677
UMG Recordings, Inc.      Robin Thicke              Go Stupid 4 U            SR0000728226   /
                                                                             SR0000412690
UMG Recordings, Inc.      Robin Thicke              Ms. Harmony              SR0000617389   /
                                                                             SR0000412743
UMG Recordings, Inc.      Robin Thicke              Rollacoasta              SR0000644566   /
                                                                             SR0000412697
UMG Recordings,   Inc.    Rush                      Tom Sawyer               SR0000025005
UMG Recordings,   Inc.    ScHoolboy Q               By Any Means             SR0000779288
UMG Recordings,   Inc.    ScHoolboy Q               Collard Greens           SR0000724647
UMG Recordings,   Inc.    ScHoolboy Q               Studio                   SR0000740379
UMG Recordings,   Inc.    Scorpions                 Wind Of Change           SR0000134531   /
                                                                             SR0000185465
UMG Recordings, Inc.      Soundgarden               Blow Up The Outside      SR0000230417
                                                    World
UMG Recordings,   Inc.    Soundgarden               Dusty                    SR0000230417
UMG Recordings,   Inc.    Soundgarden               Face Pollution           SR0000136536
UMG Recordings,   Inc.    Soundgarden               Fell On Black Days       SR0000280540
UMG Recordings,   Inc.    Soundgarden               Holy Water               SR0000136536
UMG Recordings,   Inc.    Soundgarden               Jesus Christ Pose        SR0000136536
UMG Recordings,   Inc.    Soundgarden               Mind Riot                SR0000136536
UMG Recordings,   Inc.    Soundgarden               My Wave                  SR0000280540
UMG Recordings,   Inc.    Soundgarden               Never Named              SR0000230417
UMG Recordings,   Inc.    Soundgarden               Outshined                SR0000136536
UMG Recordings,   Inc.    Soundgarden               Rusty Cage               SR0000136536
UMG Recordings,   Inc.    Soundgarden               Searching With My Good   SR0000136536
                                                    Eye Closed
UMG Recordings, Inc.      Soundgarden               Spoonman               SR0000753268
UMG Recordings, Inc.      Stevie Wonder             Do I Do                SR0000034977
UMG Recordings, Inc.      Sting                     All This Time          SR0000128533 /
                                                                           SR0000139005
UMG Recordings,   Inc.    Sting                     Englishman In New York SR0000658285
UMG Recordings,   Inc.    Sting                     Fields Of Gold         SR0000174453
UMG Recordings,   Inc.    Sting                     Fragile                SR0000085672
UMG Recordings,   Inc.    Sting                     If You Love Somebody   SR0000063226
                                                    Set Them Free
UMG Recordings, Inc.      Sting                     Love Is The Seventh    SR0000065041
                                                    Wave


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                     TITLE                     SR NUMBER
UMG Recordings,   Inc.    Tame Impala                Disciples                 SR0000770344
UMG Recordings,   Inc.    Tame Impala                Gossip                    SR0000770351
UMG Recordings,   Inc.    Tame Impala                Let It Happen             SR0000763812
UMG Recordings,   Inc.    Tame Impala                Nangs                     SR0000770351
UMG Recordings,   Inc.    Tame Impala                Past Life                 SR0000770351
UMG Recordings,   Inc.    Tame Impala                Reality In Motion         SR0000770351
UMG Recordings,   Inc.    Tame Impala                The Moment                SR0000770351
UMG Recordings,   Inc.    Tears For Fears            Mad World                 SR0000045985
UMG Recordings,   Inc.    Tears For Fears            Shout                     SR0000144549
UMG Recordings,   Inc.    Teyana Taylor              Do Not Disturb            SR0000759511
UMG Recordings,   Inc.    The Black Eyed Peas        Boom Boom Pow             SR0000633584   /
                                                                               SR0000412278
UMG Recordings, Inc.      The Black Eyed Peas        I Gotta Feeling           SR0000633584   /
                                                                               SR0000412278
UMG Recordings, Inc.      The Black Eyed Peas        Just Can't Get Enough     SR0000670148
UMG Recordings, Inc.      The Black Eyed Peas        Meet Me Halfway           SR0000633584   /
                                                                               SR0000412278
UMG Recordings, Inc.      The Black Eyed Peas        My Humps                  SR0000378166
UMG Recordings, Inc.      The Black Eyed Peas        Pump It                   SR0000378166
UMG Recordings, Inc.      The Black Eyed Peas        Rock That Body            SR0000633584   /
                                                                               SR0000412278
UMG Recordings,   Inc.    The Black Eyed Peas        Where Is The Love?        SR0000334303
UMG Recordings,   Inc.    The Game                   Higher                    SR0000366733
UMG Recordings,   Inc.    The Police                 Every Breath You Take     SR0000047032
UMG Recordings,   Inc.    The Police                 Invisible Sun             SR0000030222
UMG Recordings,   Inc.    The Police                 Message In A Bottle       SR0000013166
UMG Recordings,   Inc.    The Police                 Roxanne                   SR0000004190
UMG Recordings,   Inc.    The Police                 So Lonely                 SR0000006942
UMG Recordings,   Inc.    The Police                 Spirits In The Material   SR0000030222
                                                     World
UMG Recordings, Inc.      The Police                 Wrapped Around Your       SR0000044862
                                                     Finger
UMG Recordings,   Inc.    The Weeknd                 Acquainted                SR0000779647
UMG Recordings,   Inc.    The Weeknd                 As You Are                SR0000779647
UMG Recordings,   Inc.    The Weeknd                 Loft Music                SR0000808044
UMG Recordings,   Inc.    The Weeknd                 Prisoner                  SR0000779647
UMG Recordings,   Inc.    The Weeknd                 The Birds Pt. 2           SR0000808045
UMG Recordings,   Inc.    The Weeknd                 What You Need             SR0000808044
UMG Recordings,   Inc.    Tory Lanez                 To D.R.E.A.M              SR0000779313
UMG Recordings,   Inc.    Tove Lo                    This Time Around          SR0000756263
UMG Recordings,   Inc.    Tyga                       Love Game                 SR0000694973
UMG Recordings,   Inc.    UB40                       Red Red Wine              SR0000205152
UMG Recordings,   Inc.    Vanessa Williams           Save The Best For Last    SR0000141365
UMG Recordings,   Inc.    Vince Staples              Hands Up                  SR0000757015
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Black Tongue              SR0000332650
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Cold Light                SR0000332650
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Date With The Night       SR0000332650
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Gold Lion                 SR0000388823
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Man                       SR0000332650
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Pin                       SR0000332650
UMG Recordings,   Inc.    Yeah Yeah Yeahs            Rich                      SR0000332650


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                                                   EXHIBIT A
                                    Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                               ARTIST                   TITLE                 SR NUMBER
UMG Recordings, Inc.                    Yeah Yeah Yeahs          Sacrilege             SR0000720428
UMG Recordings, Inc.                    Yeah Yeah Yeahs          Subway                SR0000720427
UMG Recordings, Inc.                    Yeah Yeah Yeahs          Tick                  SR0000332650
UMG Recordings, Inc.                    Yeah Yeah Yeahs          Turn Into             SR0000392825
UMG Recordings, Inc.                    Yeah Yeah Yeahs          Way Out               SR0000392825
UMG Recordings, Inc.                    Yelawolf                 Pop The Trunk         SR0000661525
UMG Recordings, Inc.                    YG                       Do It To Ya           SR0000766210
UMG Recordings, Inc.                    Young Jeezy              Bottom Of The Map     SR0000375159
UMG Recordings, Inc.                    Young Jeezy              Crazy World           SR0000616586
UMG Recordings, Inc.                    Young Jeezy              Don't You Know        SR0000616586
UMG Recordings, Inc.                    Young Jeezy              Everythang            SR0000705221
UMG Recordings, Inc.                    Young Jeezy              Hustlaz Ambition      SR0000616586
UMG Recordings, Inc.                    Young Jeezy              Standing Ovation      SR0000375159
UMG Recordings, Inc.                    Young Jeezy              Waiting               SR0000705221
UMG Recordings, Inc.                    Young Jeezy              Who Dat               SR0000616586
Volcano Entertainment III, LLC          Weird Al Yankovic        Smells Like Nirvana   SR0000251666
Warner Records Inc.                     Deep Purple              Love Child            N-28621
Warner Records Inc.                     Sex Pistols              Holidays In The Sun   N-47290
Warner Records Inc.                     Rod Stewart              Baby Jane             SR0000046292
Warner Records Inc.                     ZZ Top                   Viva Las Vegas        SR0000178359
Warner Records Inc.                     Faith Hill               Breathe               SR0000276629
Warner Records Inc.                     Linkin Park              H! Vltg3              SR0000316952
Warner Records Inc.                     Daniel Powter            Bad Day               SR0000384148
Warner Records Inc.                     Mastodon                 Divinations           SR0000643231
Warner Records Inc.                     Mastodon                 Ghost Of Karelia      SR0000643231
Warner Records Inc.                     Mastodon                 Oblivion              SR0000643231
Warner Records Inc.                     Wiz Khalifa              Say Yeah              SR0000644167
Warner Records Inc.                     Jason Derulo             Trumpets              SR0000763207
Warner Records Inc.                     Jason Derulo             Get Ugly              SR0000774211
Warner Records Inc.                     Jason Derulo             Want to Want Me       SR0000774211
Warner Records Inc.                     dvsn                     With Me               SR0000795834
Warner Records/SIRE Ventures,    Inc.   The Replacements         Bastards Of Young     SR0000066568
Warner Records/SIRE Ventures,    Inc.   The Replacements         Dose Of Thunder       SR0000066568
Warner Records/SIRE Ventures,    Inc.   The Replacements         Nightclub Jitters     SR0000081634
Warner Records/SIRE Ventures,    Inc.   The Replacements         Red Red Wine          SR0000081634
Warner Records/SIRE Ventures,    Inc.   The Replacements         Shooting Dirty Pool   SR0000081634
Warner Records/SIRE Ventures,    Inc.   The Replacements         The Ledge             SR0000081634
Warner Records/SIRE Ventures,    Inc.   The Replacements         Asking Me Lies        SR0000101222
Warner Records/SIRE Ventures,    Inc.   The Replacements         When It Began         SR0000123634
Warner Records/SIRE Ventures,    Inc.   The Replacements         All Shook Down        SR0000123634
Warner Records/SIRE Ventures,    Inc.   The Replacements         Attitude              SR0000123634
Warner Records/SIRE Ventures,    Inc.   The Replacements         Happy Town            SR0000123634
Warner Records/SIRE Ventures,    Inc.   The Replacements         My Little Problem     SR0000123634
Warner Records/SIRE Ventures,    Inc.   The Replacements         One Wink At A Time    SR0000123634
WEA International Inc.                  Ed Sheeran               Thinking Out Loud     SR0000411792 /
                                                                                       SR0000766377
WEA International Inc.                  Gorillaz                 Rhinestone Eyes       SR0000650312
WEA International Inc.                  Ed Sheeran               This                  SR0000704259
Zomba Recording LLC                     A Tribe Called Quest     Bonita Applebum       SR0000171981
Zomba Recording LLC                     Backstreet Boys          Drowning              SR0000291879


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                                        EXHIBIT A
                         Plaintiffs' Copyrighted Sound Recordings
PLAINTIFF                 ARTIST                    TITLE                     SR NUMBER
Zomba Recording   LLC     Backstreet Boys           I Want It That Way        SR0000275134
Zomba Recording   LLC     Chris Brown               Say Goodbye               SR0000382648
Zomba Recording   LLC     Ciara                     And I                     SR0000355316
Zomba Recording   LLC     Justin Timberlake         Chop Me Up                SR0000395943
Zomba Recording   LLC     Justin Timberlake         Damn Girl (feat.          SR0000395943
                                                    will.i.am)
Zomba Recording   LLC     Three Days   Grace        Burn                      SR0000338429
Zomba Recording   LLC     Three Days   Grace        Get Out Alive             SR0000397604
Zomba Recording   LLC     Three Days   Grace        Gone Forever              SR0000397604
Zomba Recording   LLC     Three Days   Grace        I Hate Everything About   SR0000338429
                                                    You
Zomba Recording   LLC     Three Days   Grace        Just Like You             SR0000338429
Zomba Recording   LLC     Three Days   Grace        Let You Down              SR0000338429
Zomba Recording   LLC     Three Days   Grace        Never Too Late            SR0000397604
Zomba Recording   LLC     Three Days   Grace        Riot                      SR0000397604
Zomba Recording   LLC     Three Days   Grace        Time Of Dying             SR0000397604




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